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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS

EL PASO DIVISION
JOSE L. OLIVA, §
§
Plaintiff, §
§ .
v.. § EP-lS-CV-00015-FM
§
UNI'I`ED STATES OF AMERICA; §
MARIO J. NIVAR; HECTOR §
BARAHONA; and MARIO GARCIA, §
§
Defendants. §

ORDER GRANTING IN PART AND DENYING IN PART DEFENDANT NIVAR’S
MOTION T() DISMISS

Before the court is “Motion to Dismiss the Plaintift` s Original Complajnt and Brief in
'Support, filed by Defendant, Mario J. Nivar” (“Motion”) [ECF No. 30], filed October 16, 2018
by Mario Nivar (“Nivar’?); land “Plaintifi’s Response to Defendant Mario J. Nivar’s Motion to
Dismiss Plaintiff’s Original Complaint and Brief in Support” (“Response”) [ECF No. 40], flled
November 8, 2018 by lose Oliva -(“Plaintiff”). Based on the Motion, Response, and applicable
law, the Motion is DENIED IN PART and GRANTED IN PART.
I. BACKGROUND

A. Facmal Background and Procedural Hz'story

Plaintiff has alleged the following factsl Plaintiff visited the Veteran Affajrs Health
Care System (“VA’?) on February 1`6, 2016 for a scheduled al:)poini;m~€:nt.2 The VA is located at

5001 N. Piedras St. in El Paso, 'l`exas.3 To enter the VA, visitors are required to go through a

 

1 “Plaintiff’s Original Coinplaint” (“Cornpl.”) 1, ECF No. 1, filed Jan. 16, 2018.
2 Id. at 3 11 10.

3Sea id at21[6.

 

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metal detector and run their personal belongings through a similar machine4 As Plaintiff entered
the VA, VA Police Officers Mario Garcia, I-Iector Barahona, and Nivar (collectively,
“Defendants”) instructed Plaintiff to empty his pockets into an inspection bin and he complied.§
Nivar requested Plaintiff” s identification6 Plaintiff explained he could not show his
identification, as it Was in the inspection bin.7 Defendants then instructed Plaintiff to Walk
through the metal detector.8

As Plaintiff attempted to follow the Defendants’ order, Plaintiff alleges Nivar placed him
in a cholcehold.9 Barahona restrained Plaintiff s left arm and forced it behind Plaintiff’s back. 10
This resulted in a loud popping sound.11 Plaintiff asserts he never resisted, raised his voice, or
attempted to confront Defendants.12 Defendants pinned Plaintiff to the ground, secured him in

handcuffs, and detained him in a side room.13 Plaintiff Was charged With disorderly conduct14

 

4161 amy 10.

514 ats 1[11

EId. ats 1[12.

7 Compl. 3 1112

wa as 1113.

914 ats 1110.

10 1a as 11_14.

ll Ia’

mla at41[17. _

13 Comp. 4 1111 15-16.

141d. at41{17.

 

 

 

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Plaintiff claims to have undergone shoulder surgery, in addition to seeking treatment for
difficulty swallowing, ear pain, ear infection, and persistent hoarseness.15 Plaintiff also alleges
to still suffer aggravated symptoms of post-traumatic stress disorder.16

On January 16, 2018, Plaintiff filed suit against the United States of America
(“Government”) and Defendants, bringing claims under the Federal Tort Claims Act (“FTCA”),
18 U.S.C. § 2671 ef. seq. and Bivens.l? Nivar moves to dismiss Plaintiff’s Bivens claim pursuant
to Federal Rule of Civil Procedure 12(b)(6).18

B. Parties ’Arguments

Nivar claims Plaintiff must fail as: (l) Plaintiff’s claim is an inappropriate extension of
B:'vens; and (2) qualified immunity bars any relief.19 Nivar argues this is an inappropriate
extension of Bivens because it is limited to only a few Constitutional violations by the Supreme
Court’s holding in Zz`glar v. Abbasi,z° and the alleged facts Would extend this Scope.z]

ln the alternative, he argues this case includes special factors Which caution extending
Bz'vens.22 Specifically, Nivar focuses on national security concerns, Which previous decisions

have held Warrant curtailing Bivens remedies23 As Plaintiff may receive relief under the FTCA,

 

15 1a ar 4 1111 18-20.
16 1a at 4 m 18_20.
1"1¢1. at 5 11121-22,31;10.

13 See “Motion to Disrniss the Plaintiff’s Original Complaint and Brief in Support, filed by Defendant,
Mario J. Nivar" (“Mot.”), ECF No. 30, filed Oct. 16, 2018. `

19 Mor. 2 112,91[19.

20 137 s. Cr. 1343 (201`7).
21M0r. 3 11 6.

22 1a

23 Id. at71l1[ 14-15 (citing to Hernandez v. Mesa, 885 F.3d 811, 814 (Sth Cir. 2018)).

 

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Nivar contends vaens should not be extended to include this specific alleged constitutional
violation.z‘l

Finally, he claims that the privilege of qualified immunity renders him immune from
liability25 ln support, Nivar argues his actions did not violate clearly established laW.26 Nivar
also claims Plaintiff’s pleaded facts, While conceivable, do not present a plausible set of
circumstances in Which excessive force Was applied27

Plaintiff asserts his claim of excessive force is not a novel application of Bz'vens.28
Plaintiff seemingly incorporates this argument for his Fifth Amendment claims, but provides no
further detail or specificity29 Plaintiff opposes Nivar’s argument that the allegations are only
conceivable, explaining that officers can act simultaneously to violate an individual’s

constitutional rights.30 Finally, Plaintiff argues that Nivar’s use of a chokehold Was in violation

of clearly established law and its use Was objectively unreasonable31

 

24 1a a91118.
25 1a at91119.
16 la at 10120.
21 Mot. 121123.

23 “Plaintiff‘s Response to Def`endant Mario J. Nivar’s Motion to Dismiss Plaintiff`s Original Complaint
and Brief in Support” (“Resp.”) 5, ECF No. 40, filed Nov. 8, 2018.

29 See generally Mot.
30 Resp. 4-5.

3110’. at 4.

 

 

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II. APPLICABLE LAW

A. Motion to Dz'smiss Pursuanr to Rule ]2([))(6)

Federal Rule of Civil Procedure Rule l2(b)(6) allows dismissal of a complaint for
“failure to state a claim for Which relief can be granted.”32 “The central issue is whether, in the
light most favorable to the plaintiff, the complaint states a valid claim for relief.”33 To survive a
motion to dismiss, a plaintiff must plead “enough facts to state.a claim to relief that is plausible
on its face.”i’4 “The plausibility standard is not akin to a ‘probabiiity requirement,’ but it asks for
more than a sheer possibility that a defendant has acted unlawfully.”35 “[F]acial plausibility”
exists`“when the plaintiff pleads factual content that allows the court to draw the reasonable
inference that the defendant is liable for the misconduct alleged.”36 Therefore, a complaint is not
required to set out “detailed factual allegations,” but it must provide “more than labels and
conclusions, and a formulaic recitation of the elements of a cause of action.”37 Although the
court must accept Well-pleaded allegations in a complaint as true, it does not afford conclusory

allegations similar treatment38

 

32 FED. R. Clv. P. lz(b)(é).

33 Gr'eat Plains Trust Co. v. Morgan Sfanley Dean Wl`tter & Co., 313 F.3d 305, 313 (5th Cir. 2002)
(internal quotation marks and citation omitted); see also 111 re Katrina Ccmal Breaches Lirz'g., 495 F.3d 191, 205 (Sth
Cir. 2007).

34 Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007).
35 Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

36 ld. (citing Twombly, 550 U.S. at 556).

37 Twombly, 550 U.S. at 555.

33 See Kaz'ser Alumz`num & Chem. Sales, Inc., 677 F.2d 1045, 1050 (5th Cir. 1982) (citing Assocz'ated
Bufld€r.$', IHC. v. Ala. Power' CQ., 505 F.Zd 97, 100 (Sth Cir. 1974)).

 

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III. DISCUSSION

A. _ l Fourlh Amendmeht Bivens Claim

In Bivens v. Six Unkhowh Namecl Agehls ofFecl. Bureau ofNorcolics,39 the Supreme
Court held that individuals could bring an implied cause of action under the ll?ourth
Amendment.40 There, the plaintiff sought recovery for damages caused when federal narcotics
performed a warrantless search and seizure of his home.41 He further alleged officers used
excessive force in effecting the arrest42 The Court found the plaintiff could recover against a
federal agent acting under color of federal authority where the agent’s conduct was
unconstitutional.43 The Court has extended this implied cause of action to alleged violations of
the Fifth li‘»imendment44 and Eighth Amendment.45 However, the Court has since directed that
extending Bivens claims are a disfavored judicial activity46 and has “consistently refused to
extend Bivens to any new context or new category of defendants.”“" The _Fifth Circuit has
elaborated that Bivens excessive force claims have two distinct categories: (1) claims with

special factors; and (2) “garden variety” claims.“g

 

39 403 U.s. 383 (1971)_

40 See fd.

411611. 31389-90.

42 Id. at 339.

43 ld. at 41 1.

44 Dovis v. Passmon, 442 U.S. 228, 248-49 (1979).

45 qulson v. Green, 446 U.S. 14, 19 (1980).

46 zlglar v. Abban, 137 s. Cr. 1343, 1357 (2017) (citing to Ashcmfr v. lqbal, 556 U.s. 662, 675 (2009)).
47 ]d. (citing to Correctlohal Servz'ces Corp. v. Malesko, 534 U.S. 61, 68 (2001)).

48 Hemondez v. Mesa, 885 F.3d 811, 814 (5th Cir. 2018); see also De La Paz v. Coy, 786 F.3d 367, 375
(5th Cir. 2015) (“Consequently, this court's past cases have not decided whether Bivens extends to claims arising

from civil immigration apprehensions and detentions, other than those alleging unconstitutionally excessive force”).

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Where a Bivens claim arises in a new context, a court considers special factors which
may counsel hesitation49 Absent Congressional directive, courts are “reluctant to intrude” into
domains reserved for the legislative and executive b1‘anches.50 Among these Special factors is
national security.51 For instance, in Hernandez v. Mesa,55 the Fifth Circuit found that national
security concerns can defeat Bivens claims against Border Patrol Agents.53 Specifically, these
national security concerns involved an international element contained in the job duties and the
real danger of terrorism.54 The Fifth Circuit highlighted how Bivens liability may “undermine
the Border Patrol's ability to perform duties essential to national security.”55 Despite this, the
Fifth Circuit was clear that domestic cases would be different, reasoning that “the defining
characteristic of this case is that it is not domestic.”56 Therefore, claiming national security
concerns has a much less risk of abuse.57 n

Courts also consider whether there are “sound reasons to think Congress might doubt the

efficacy or necessity of a damages remedy as part of the system for enforcing the law and

 

49 Al)basf, 137 S. Ct. at 1857 (citing to Corlson, 446 U.S. at 18).
50 Id.

511€1. at1861.

55 885 F.Sd 811 (5th Cir. 2018).

53 Id. at 823.

54 See generally id.

55 Id. at 819.

55 Id_

57 Id.

 

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correcting a wrong.”5g An additional consideration is whether an alternative remedy exists to
limit the availability of a Bivens remedy.59

Like Bivehs, this case involves allegations that Defendants, including Nivar, violated his
Fourth Amendment right to be free of excessive force.'511 Bivens also involved a claim of
excessive force, as seen where the complaint alleged the officers used unreasonable force during
an unlawful arrest.‘51 Additionally, the Fifth Circuit’s holding that there are “garden variety”
Bivens excessive force claims52 show_Plaintiffs claim may proceed, absent special
considerations

Nivar asserts this case is a new application of Bivens, as VA Police Officers are a new
class of defendants.‘53 This argument is an overreach. Like the federal officers in Bivehs, VA
Police Officers are federal law enforcement officers.64 Bivens is not contingent on the specific
category of federal law enforcement officers involved in the alleged constitutional violation.
Rather, Bivens looks at whether the official was simply federal law enforcement or a high-level

decisionmaker.55

 

53 Zz'glor v. Abl)asf, 137 S. Ct. 1843, 1858 (2017).

59 Id.

511 Resp. 5.

51 Bivens v. Six Unlcnowh Namea'Agehts of Fed. Bnrecm of Narcollcs, 403 U;S. 388, 389 (1971).

55 Hernondez v. Mesa, 885 F.3d5811, 814 (5th Cir. 2018).

55 Mot. 6 11 ll.

54 U.S. Dept. of Veterans Affairs, Office of Security and Law Enforcement, Our Mfssion,
https;llwww.osp.va.goleSandLE_OvervieW.asp (accessed on Jan. 2, 2019) (describing the VA Police’s mission:
“Deliver professional law enforcement and security services, while maintaining law and order, and the protection of

persons and property on VA campuses and building’s [sic] under the jurisdiction of the Department of Veterans
Affairs.”).

55 Blvens, 403 U.S. at 411; see also Zlglor v. Abbasl, 137 S. Ct. 1843, 1854 (2017).

 

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In support of his contention that VA Police Officers should be considered a separate class
of defendants, he attempts to draw support from Ahbosl, where high-level government officials
were held to be a new class.55 Abbasi dealt with two groups of defendants: (l) the Att_orney
General, Federal Bureau of Investigation Director, and the Immigration and Naturalization 1
Service Commissioner; and (2) the federal facilities warden and assistant warden.57 Neither of
those two groups are similar to a VA Police Officer. VA _Police Officers simply do not have a
similar level of discretion, nor would their behavior be chilled in a similar manner. A VA Police
Officer acting in the manner alleged is no different than any other federal law enforcement
officer effectuating the law. Therefore, this case does not present a new Bivens context

Nivar further alleges since Plaintiff has the potential for relief under the FTCA, a Bivens
remedy is not available.55 This is incorrect The FTCA is the exclusive remedy of specific
claims enumerated by Congress.59 However, the FTCA expressly does not extend to general
constitutional excessive force claims."'0 Excessive force is not a new Bivens cause of action, and
potential alternative remedial structures do not prevent this claim from moving forward.

Lastly, Nivar argues that even if there are no alternative remedial structures, Bivens

should not be extended if special factors counsel hesitation71 Nivar asserts that the principle of

 

55 Al)basl, 137 S. Ct. at 1858.

5710'. at1853.
55 Mot.91118.

55 18 U.S.C. § 2679.
50 18 U.S.C. § 2679(b)(2)(A); see also Herno'mlez v. Mesa, 885 F.3d 811, 830 (5th Cir. 2018).

71 Willcle v. Rol)l)tns, 551 U.S. 537, 550 (2007).

 

 

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Separation of Powers should give this court pause, explicitly national security.72 ln support,
Nivar cites to Hernanclez v. Mesa.75

In Hemandez, the Fifth Circuit held that Bivens did not extend to a Border Patrol agent
because of national security concerns.74 Defendant’s reliance on Hernanclez is misguided
Hernondez is careful to acknowledge that in domestic cases, there is a danger for abusing the
phrase “national security.”75 Herhandez distinguishes itself by focusing on the international
nature of defending the border. The Fifth Circuit explained:

“We hold that this is not a garden variety excessive force case against a federal

law enforcement officer. The transnational aspect of the facts presents a "new

context" under Bivens, and numerous "special factors" counsel against federal

courts' interference with the Executive and Legislative branches of the federal

govemment.75
The present case is purely a domestic matter. No such international element exists here, nor is it
even suggested that an international element could exist.

Simply put, policing a VA Hospital entrance is not comparable to patrolling our country’s
international borders, a controlling fact in Hernandez. Border security is an important factor, as
the Supreme Court reasoned it is “m'uch more difficult to believe that congressional inaction was

inadvertent” due to the national policy focus.77 As Nivar’s argument goes beyond the scope of

national security, it is simply too broad. National security does grant federal law enforcement

 

7 12 Mot. 7 11 14.
73 335 F.3d 311 (5111 oir. 2013).
14 newman v. Mesg, 335 F.3d 311, 319F20 (51h cir. 2013)
15 1a
16 1a 31314.

55 Zlglor v. Abbasi, 137 S. Ct. 1843, 1862 (2017).

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broad powers; yet it is not a magic wand that need only be waved to garner unfettered discretion.
Therefore, Nivar’s argument that national security is a special factor barring Plaintist claim
must fail.

A Bivens claim for excessive force is not a novel claim, and there are no special
considerations Which cause these facts to extend Bivens. Therefore, Plaintiff has properly
pleaded a Bivens claim for excessive force in violation of the Fourth Amendment.

B. Fifth Amendmeht Bivens Cloim

Plaintiff also seeks a Bivens remedy for violations of his Fifth Amendment rights.75

.79 Accordingly,

Courts have not generally applied Bivens in the context of the Fifth Amendment
Plaintiff’s Bivens claim for a violation of the Fifth Amendment must fail.

1 Furthermore, Plaintiff’s Fifth Amendment claim is vague and devoid of detail.50 lt is
unclear if this claim is meant to cover Plaintiff’ s detention, Nivar’s use of force, or both. Simply
claiming Fifth Amendment injuries does not suffice Even if Plaintiff provided more detail,
Plaintiff may not pursue a Fifth Amendment Bivens claim, as it falls outside the scope of Bivens
Therefore, no Bivens remedy is available, and this claim is dismissed

C. Qualified lmmum'ly

As Plaintiff`s Fourth Amendment claim survives the Bivens challenge, the court

considers whether Nivar is entitled to qualified immunity.51 Government officials receive

 

55 Compl. 5 1[ 26.

55 The lone Fifth Amendment Bivens claim was for gender discriminationl See Davis v Possman, 442 U.S.
228 (1979).

55 Compl. 5 1[ 26.

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protection “from liability for civil damages insofar as their conduct does not violate clearly
established statutory or constitutional rights of which a reasonable person would have known.”52

Courts employ a two-prong analysis to assess whether an officer may assert the privilege
of qualified immunity.83 Courts are “permitted to exercise their sound discretion in deciding
which of the two prongs of the qualified immunity analysis should be addressed first in light of
the circumstances in the particular case at hand.”54 However, analyzing them in order is “of`ten
beneficial.”55 The first prong is whether the evidence, in the light most favorable to the plaintiff,
shows the officer violated the plaintist constitutional rights.55 The second prong is Whether the
officer’s actions were objectively reasonable in light of clearly established law.57 Both prongs
must be satisfied to defeat qualified immunity.55 5

1. Whether Plaintiff’s Constitutional Rights Were Violated

The court looks to whether Plaintiff pleaded facts sufficient to show an injury resulted

from excessive force and Whether that excessive force was objectively unreasonable59 The court

 

12 Harlow v. Firzgemla, 457 U.s. 300, 313 (1932).
55 Pearson v. Callahan, 555 U.S. 223, 232 (2009).
84 1a at 235.

85 far

16 1a 31232.

17 1a

a 1a

59 Cooper v. Brown, 844 F.3d 517, 522 (5th Cir. 2016); see also Elfzoaclo v. Green, 671 F.3d 506, 501 (5th
Cir. 2012) (quoting Collier v. Montgomery, 569 F.3d 214, 218 (5th Cir. 2009)).

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does not consider subjective intent in its analysis90 In this case, Plaintiff alleged that he Was
injured,91 which came about as a result of Defendants applying force towards him.-§'2

Courts analyze excessive force claims under the “objective reasonableness standard.”93
As officers deal with rapidly evolving situations, this standard does not employ hindsight to find
the objective best course of action.94 lnstead, the court considers the totality of the
circumstances “from the perspective cfa reasonable officer on the scene.”_95 ln Graham v.
Corznar,96 the court outlined several factors to consider: (1) the severity of the crime; (2) whether
the suspect posed an immediate threat to the safety of officers or others; and (3) whether the
suspect actively resisted.97 5

The severity of the crime cannot be taken into consideration if the plaintiff did not
commit a crime.95 Here, Plaintiff was charged with disorderly conduct_a misdemeanor_
although he contends no crime was committed99 I-lowever, Plaintiff was never convicted of

disorderly conduct As Plaintiff was not convicted of a crime, this factor favors Plaintiff.

 

95 Graham v. Conhor, 490 U.S. 386, 397 (1989).

91 Compl. 4 1111 18-20. The injuries alleged include: shoulder surgery, difficulty swallowing, ear pain, ear
infection, persistent hoarseness, and symptoms of post-traumatic stress disorder.

921¢1.3131110,14.

55 Gr'aham, 490 U.S. at 397.

95 Icl.

55 ld. at 396.

96 490 U.s. 336 (1939).

57 Icl.

95 See Tarmon v. Joro'an, 405 F.3d 202, 207 (5th Cir. 2005).

59 Resp. 10; see also Compl. 4 11 17.

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Nivar casts Plaintiff’s assertion as implausible, implying that, because Defendants acted
simultaneously to restrain Plaintiff, there must have been some criminal activityl.100 The
pleadings are devoid of allegations to support such a bald assertion. When viewing the pleadings
in the light most favorable to the Plaintiff, the alleged events are well within the realm of
plausibility. This factor thus favors the Plaintiff.

Similarly, there is nothing to suggest the officers felt there was a threat to an officer or
building safety. In his complaint, Plaintiff’s asserts he was attempting to comply with

151 Simply

Defendants’ orders and remained nonconfrontational throughout the interaction
complying with officer commands while remaining nonconfrontational is not a threat to safety.
There are no present allegations of resistance Plaintiff has pleaded that he was not actively
resisting,102 a fact which is plausible The mere fact that Plaintiff was charged with a crime does
not justify assuming the arrest was preceded by wrongdoing

All three of the factors enumerated in Graham favor Plaintiff Accordingly, Plaintiff has
sufficiently pleaded facts to support a claim for a violation of his Fourth Amendment rights

2. Whether Nivar’s Actions Violated Clearly Established Law
The second prong considers whether the officers’ conduct violated clearly established

law.105 “If officers of a reasonable competence could disagree on this issue, immunity should be

recognized_.”104 This analysis is “highly fact-specific.”155 The protection of qualified immunity

 

1110 Mot. 121123.

151 Compl. 3 1111 13-14.

1112 Id. at 3-4 1111 13-17.

1111 Peama v. canada 555 U.s. 223, 232 (2009).
1011 Matley v. Baggs, 475 U.s. 3135, 341 (1936).!

155 Mallem'x v. Luna, 136 S. Ct. 305, 308 (2015).
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can be overcome through cases which are “directly on point. lf no case is directly on point,

precedent must show “beyond debate” that a constitutional violation occurred.107

ln Darcleh v. Cz'ly of Fort Worlh,155 the Fifth Circuit held that use of force is excessive
where the officer “strikes, punches, or violently slams a suspect who is not resisting arrest.”109
In Darclen, an officer choked and pulled the plaintiff" s hands behind his hack, despite the
plaintiff “purportedly complying with the officers' orders and not resisting arrest.”110 The Fifth
Circuit has further stated the law has “clearly established that violently slamming or striking a
suspect who is not actively resisting arrest constitutes excessive use of force.”1ll Accordingly, it
is clearly established that an officer may not use excessive force when the individual is not
resisting 1 12

Here, Plaintiff has alleged he was grappled violently and slammed to the ground.115

Plaintiff also alleges Nivar restrained him with a chokehold, despite him not resisting the

arrest.114 Accordingly, when viewing the allegations in the light most favorable to the Plaintiff,

 

155 Darclen v. Clty of Fort Worth, 880 F.3d 722, 732 (5th Cir. 2018); see also Onllveros v. Clly Of
Rosenberg, 564 F.3d 379, 383 n.l (5th Cir. 2009).

155 Dara.’en, 880 F.3d at 732.

155 880 F.3d 722 (5th Cir. 2018).
159 Id 31732.

115 ld. at 733.

1111¢11. at732.

112 ld. at 733.

113 Compl. 3-4111[ 14-15-

mar a131[13,41[16.

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Nivar’s actions violated clearly established law, thereby defeating his defense of qualified
immunity.
3. CONCLUSION
Plaintiff has pleaded a plausible Bivens claim for excessive force in violation of the
Fourth Amendment. No such Bivens remedy exists for Plaintist ethereal Fifth Amendment
claim. Finally, Nivar is not entitled to-qualified immunity, as the complaint alleges sufficient
facts that Plaintiff"s Fourth Amendment rights were violated and Nivar"s action violated clearly
established law. Accordingly, the court enters the following orders:
l. lt is HEREBY ()RDERED that the “Motion to Dismiss the Plaintiff5s Original
Complaint and Brief in Support, filed by Defendant, Mario J. Nivar”
[ECF No. 301 is GRANTED as to Plaintiff’ s Fifth Amendment Bivens claims.
2. lt is FURTHER ORDERED that the “Motion to Dismiss the Plaintiff’s Original
Complaint and Brief in Support, filed by Defendant, Mario J. Nivar”
[ECF No. 30] is DENIED as to the Fourth Amendment Bivens claim.
SO ORDERE]).

SIGNED this 5 day of .Ianuary, 2019.

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F NK MONTALVO
ITED STATES DISTRICT JUDGE

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